 4:08-cr-03148-RGK-CRZ        Doc # 185      Filed: 04/20/09   Page 1 of 1 - Page ID # 468



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                           Plaintiff,            )
                                                 )
v.                                               )      Case No. 4:08CR3148
                                                 )
MICHAEL J. RAYNO,                                )
                                                 )
                           Defendant.            )

                                          ORDER

       THIS MATTER comes before the Court on defendant's Request to File A Restricted

Motion, filing 182. The Court, being fully advised in the premises, finds that said Motion

should be granted.

       IT IS THEREFORE ORDERED that, pursuant to NECrimR 12.4, the Clerk shall file

defendant’s Motion for Variance and Supporting Brief restricted.

       IT IS FURTHER ORDERED that said Motion and Brief be made available to case

participants only.

       DATED this 20th day of April, 2009.

                                                 BY THE COURT:

                                                 s/ Richard G. Kopf
                                                 United States District Judge
